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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------------- X
                                                                         :
   NATURAL ALTERNATIVES INTERNATIONAL,                                   :
   INC.                                                                  :
                                                Plaintiff(s),            :     1:19Civ. 05354 (LGS)
                             -v-                                         :
                                                                         :     THIRD AMENDED
   BACTOLAC PHARMACEUTICAL, INC.                                         :       CIVIL CASE
                                                Defendant(s).            :      MANAGEMENT
                                                                         :        PLAN AND
                                                                              SCHEDULING ORDER
  ---------------------------------------------------------------------- X

 LORNA G. SCHOFIELD, United States District Judge:

         This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
 Civ. P. 26(f)(3).

 1.        All parties [consent        / do not consent XX       ] to conducting all further
           proceedings before a United States Magistrate Judge, including motions and trial. See
           28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
           consequences. [If all parties consent, the remaining paragraphs need not be completed.]

 2.        The parties [have XX        / have not             ] conferred pursuant to Fed. R. Civ. P. 26(f).

 3.        This case is governed by one of the following sets of rules, and the parties’ proposed
           dates in this order have been adjusted accordingly.

           a.       An employment case governed by the Initial Discovery Protocols for Employment
                    cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                     [Yes        / No XX       ]

           b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                    Against the City of New York? https://nysd.uscourts.gov/rules.
                     [Yes        / No XX     ]

           c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                    https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-g-
                    schofield
                    [Yes          / No XX ]
           d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                    Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                     [Yes        / No XX        ]



                                                                                      Revised November 9, 2018
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 4.        Alternative Dispute Resolution/Settlement

           a.       Settlement discussions [have           / have not XX      ] taken place.

           b.       Counsel for the parties have discussed an informal exchange of information in aid
                    of early settlement and have agreed to exchange the following:



           c.       Counsel for the parties have discussed the use of the following alternate dispute
                    resolution mechanisms for use in this case: (i) a settlement conference before a
                    Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
                    retention of a private mediator. Counsel for the parties propose the following
                    alternate dispute resolution mechanism for this case:
                    Settlement conference before a magistrate judge

           d.       Counsel for the parties recommend that the alternate dispute resolution
                    mechanism designated in paragraph 4(c) be employed at the following point in the
                    case (e.g., within the next 60 days; after the deposition of plaintiff is completed
                    (specify date); after the close of fact discovery):
                    After the close of fact discovery


           e.       The use of any alternative dispute resolution mechanism does not stay or
                    modify any date in this Order.


 5.        No additional parties may not be joined without leave of Court.

 6.        Amended pleadings may not be filed without leave of Court.

 7.        Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) have been completed. [Within 14
           days of the parties’ Rule 26(f) conference, absent exceptional circumstances.]



 8.        Fact Discovery

           a.       All fact discovery shall be completed no later than 12/2/2020.
                    [A period not to exceed 120 days, unless the Court finds that the case presents
                    unique complexities or other exceptional circumstances.]




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           b.       Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
                    be served by 1/8/2020.

           c.       Responsive documents shall be produced by 10/17/2020.
                    Do the parties anticipate e-discovery? [Yes      / No XX ]

           d.       Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
                    1/8/2020.

           e.       Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
                    12/2/2020.

           f.       Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
                    11/22/2020.

           g.       Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
                    written consent of all parties without application to the Court, provided that
                    all fact discovery is completed by the date set forth in paragraph 8(a).


 9.        Expert Discovery [if applicable]

           a.       Anticipated types of experts if any:
                      To be determined By October 19, 2020, the parties shall file a letter apprising the Court of
                     whether they intend to seek to conduct expert discovery and, if so, the types of experts
                     they intend to engage.
           b.       If you have identified types of experts in question 9(a), all expert discovery shall
                    be completed no later than                               .
                    [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
                    discovery, absent exceptional circumstances.] Omit if you have not identified
                    types of experts.

           c.       If you have identified types of experts in question 9(a), by               [no later
                    than one month before the date in paragraph 8(a), i.e., the completion of all fact
                    discovery] the parties shall meet and confer on a schedule for expert disclosures,
                    including reports, production of underlying documents and depositions, provided
                    that (i) expert report(s) of the party with the burden of proof shall be due before
                    those of the opposing party’s expert(s); and (ii) all expert discovery shall be
                    completed by the date set forth in paragraph 9(b).


 10.       This case [is _        / is not XX     ] to be tried to a jury.

 11.       Counsel for the parties have conferred and their present best estimate of the length of trial
           is three days                 .



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 12.       Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
           Fed. R. Civ. P. 26(f)(3), are set forth below:




 13.       Status Letters and Conferences

           a.       By 5/15/2020, 6/15/2020, 7/15/2020, 7/27/2020 and 8/26/2020, 9/25/2020,
                    10/26/2020, and 11/25/2020 [60 days after the commencement of fact
                    discovery], the parties shall submit a joint status letter, as outlined in
                    Individual Rule IV.A.2.

           b.       By 12/16/2020 [14 days after the close of fact discovery], the parties shall submit
                    a joint status letter, as outlined in Individual Rule IV.A.2 and, in the event that
                    they have not already been referred for settlement discussions, shall also advise
                    the Court whether or not they request a referral for settlement discussions as
                    provided in Paragraph 4(c) above.
                        12/17/2020 at 10:40 a.m.
           c.           XXXXXXXXXXXXXXXXXXXX
                    On 12/16/2020    at 11:00 A.M. [usually 14 days after the close of all discovery],
                    a pre-motion conference will be held for any anticipated dispositive motions,
                    provided:

                        i. A party wishing to file a summary judgment or other dispositive motion
                           shall file a pre-motion letter at least two weeks before the conference and
                           in the form provided in the Court’s Individual Rule III.A.1. Any party
                           wishing to oppose shall file a responsive letter as provided in the same
                           Individual Rule. The motion will be discussed at the conference.

                       ii. If no pre-motion letter is timely filed, this conference will be canceled and
                           the matter placed on the Court’s trial-ready calendar. The parties will be
                           notified of the assigned trial-ready date and the filing deadlines for pretrial
                           submissions. The parties are warned that any settlement discussions will
                           not stay pretrial deadlines or the trial date.




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         This Order may not be modified or the dates herein extended, except as provided in
 paragraph 8(f)) or by further Order of this Court for good cause shown. Any application to
 modify or extend the dates herein, except as provided in paragraph 8(f), shall be made in a
 written application in accordance with the Court’s Individual Rules and shall be made no less
 than 2 business days prior to the expiration of the date sought to be extended.

         The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
 13(a)-(c) into the Court’s calendar.



           SO ORDERED.


        July 28, 2020
 Dated: _________________
        New York, New York

                                                               LORNA G. SCHOFIELD
                                                               United States District Judge

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